 Fill in this information to identify your case:

 Debtor 1                 JEFFREY MARTIN STEVENS
                          First Name                        Middle Name              Last Name

 Debtor 2                 JILL ANNETTE STEVENS
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number           2:17-bk-10375-PS
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
          whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
          on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         CARMAX AUTO FINANCE                                  Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2011 VOLKSWAGEN JETTA                              Reaffirmation Agreement.
    property             56000 miles                                        Retain the property and [explain]:
    securing debt:       CO-SIGNED VEHICLE FOR
                         DAUGHTER - *SURRENDERED
                         VEHICLE IN CONFIRMED
                         CHAPTER 13*


    Creditor's         VANTAGE WEST CREDIT                                  Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2014 HONDA CRV 87069 miles                         Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         WELLS FARGO DEALER                                   Surrender the property.                     No
    name:              SERVICES                                             Retain the property and redeem it.
                                                                                                                        Yes
                                                                            Retain the property and enter into a
    Description of       2011 HONDA ACCORD 119050                           Reaffirmation Agreement.


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 Debtor 2      JILL ANNETTE STEVENS                                                                   Case number (if known)    2:17-bk-10375-PS

    property            miles                                               Retain the property and [explain]:
    securing debt:



    Creditor's     WELLS FARGO DEALER                                       Surrender the property.                                     No
    name:          SERVICES                                                 Retain the property and redeem it.
                                                                                                                                        Yes
                                                                            Retain the property and enter into a
    Description of      2005 HONDA CR-V EX 147060                           Reaffirmation Agreement.
    property            miles                                               Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               CLARK AND RENEE BERGMEN                                                                             No

                                                                                                                                  Yes


 Description of leased        RESIDENTIAL LEASE EXPIRES 07/16/2018 - ASSUME
 Property:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 2      JILL ANNETTE STEVENS                                                                  Case number (if known)   2:17-bk-10375-PS




 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ JEFFREY MARTIN STEVENS                                                   X /s/ JILL ANNETTE STEVENS
       JEFFREY MARTIN STEVENS                                                          JILL ANNETTE STEVENS
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        June 1, 2018                                                     Date    June 1, 2018




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